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                        IN THE UNITED STATES DISTRICT COURT
 7
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,       ) No. 2:99-cr-433 WBS
                                     )
10                  Plaintiff,       ) ORDER RE: CUSTODY STATUS OF
                                     ) THONGSOUK THENG LATTANAPHOM
11                                   )
                    v.               )
12                                   )
                                     )
13   THONGSOUK LATTANAPHOM,          )
                                     )
14                  Defendant.       )
                                     )
15                                   )
     _______________________________ )
16
17             On or before August 8, 2008, the United States attorney shall
18   file a written response to defendant Lattanaphom’s ex parte motion for
19   an order staying execution of a writ of habeas corpus ad prosequendum
20   calling for his removal to Los Angeles.       The court will hear the motion
21   at 8:30 a.m. on August 11, 2008.
22             IT IS SO ORDERED.
23   DATED:   August 5, 2008
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